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                 EXHIBIT B
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·1· · · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · ·FOR THE DISTRICT OF COLORADO

·3· ·Civil Action No. 1:14-cv-02887-JLK-MEH
· · ·______________________________________________________
·4
· · · · · · · · ·RULE 30(b)(6) DEPOSITION OF:
·5· · · · · · DAWN CEJA, VOLUME I - August 5, 2020
· · · · · · · · · · · The GEO Group, Inc.
·6· · · · · · · · · · ·(Via RemoteDepo)
· · ·______________________________________________________
·7
· · ·ALEJANDRO MENOCAL, MARCOS BRAMBILA, GRISEL
·8· ·XAHUENTITLA, HUGO HERNANDEZ, LOURDES ARGUETA,
· · ·JESUS GAYTAN, OLGA ALEXAKLINA, DAGOBERTO
·9· ·VIZGUERRA, and DEMETRIO VALERGA, on their own and
· · ·on behalf of all others similarly situated,
10
· · ·Plaintiffs,
11
· · ·v.
12
· · ·THE GEO GROUP, INC.,
13
· · ·Defendant.
14
· · ·______________________________________________________
15
· · · · · · · · · PURSUANT TO NOTICE, the Rule 30(b)(6)
16· ·deposition of DAWN CEJA, THE GEO GROUP, INC., Volume
· · ·I, was taken on behalf of the Plaintiffs by remote
17· ·means in Arapahoe County, Colorado, on August 5, 2020,
· · ·at 9:04 a.m. MDT, before Sherry Wallin, Certified
18· ·Realtime Reporter, Registered Merit Reporter and
· · ·Notary Public within Colorado, appearing remotely from
19· ·Adams County, Colorado.

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·1· · · · · · · · · · ·REMOTE APPEARANCES

·2
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·4
· · · · · · · · · · · · · · · · · · · · · · · · · · INITIAL
·5· ·DEPOSITION EXHIBITS:· · · · · · · · · · · · ·REFERENCE

·6· ·(Exhibits provided electronically to the reporter.)

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·1· · · · · · · · WHEREUPON, the following proceedings

·2· ·were taken pursuant to the Federal Rules of Civil

·3· ·Procedure.

·4· · · · · · ·*· · · ·*· · · ·*· · · ·*· · · ·*

·5· · · · · · · · THE REPORTER:· The attorneys

·6· ·participating in this deposition acknowledge that I am

·7· ·not physically present in the deposition room and that

·8· ·I will be reporting this deposition remotely.

·9· · · · · · · · They further acknowledge that in lieu of

10· ·an oath administered in person the witness will

11· ·verbally declare her testimony in this matter is under

12· ·penalty of perjury.

13· · · · · · · · The parties and their counsel consent to

14· ·this arrangement and waive any objections to this

15· ·manner of reporting.

16· · · · · · · · Please indicate your agreement by

17· ·stating your name and your agreement on the record.

18· · · · · · · · MS. SCHEFFEY:· Adrienne Scheffey,

19· ·counsel on behalf of defendant GEO, and we agree.

20· · · · · · · · Sorry, Juno.

21· · · · · · · · MS. TURNER:· Juno Turner, class counsel

22· ·for plaintiffs.· We agree as well.

23· · · · · · · · THE REPORTER:· And Ms. Dawn Ceja, do you

24· ·solemnly state that the testimony you are about to

25· ·give in the cause now pending will be the truth, the


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·1· ·whole truth, and nothing but the truth?

·2· · · · · · · · THE DEPONENT:· Yes.

·3· · · · · · · · · · · · DAWN CEJA,

·4· ·having sworn to state the whole truth, testified as

·5· ·follows:

·6· · · · · · · · THE REPORTER:· Thank you.· Please

·7· ·proceed.

·8· · · · · · · · · · · · EXAMINATION

·9· ·BY MS. TURNER:

10· · · · · ·Q.· ·Thank you.· Good morning, Ms. Ceja.· We

11· ·met briefly before we got on the record again.· My

12· ·name is Juno Turner, and I am one of the attorneys

13· ·who's been appointed as class counsel for the

14· ·plaintiff class in this matter.

15· · · · · · · · Could you just please state your full

16· ·name and business address for the record?

17· · · · · ·A.· ·Dawn Ceja.· Business address 3130 North

18· ·Oakland Street, Aurora, Colorado 80010.

19· · · · · ·Q.· ·Thank you.· And is that the Aurora

20· ·detention facility operated by The GEO Group?

21· · · · · ·A.· ·Yes.· The Aurora ICE Processing Center.

22· · · · · ·Q.· ·Great.· Thank you.· And do you

23· ·understand that although, given the circumstance of

24· ·the deposition, the court reporter wasn't able to

25· ·administer an oath to you in person, you've agreed to


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·1· ·is performed in the day area by housing units assigned

·2· ·to the rotation -- housing detainees assigned to the

·3· ·rotation, correct?

·4· · · · · · · · MS. SCHEFFEY:· Object to form.

·5· ·Argumentative.

·6· · · · · ·A.· ·Those are just the meal cleanup.

·7· · · · · ·Q.· ·(BY MS. TURNER)· Right.· And the meal

·8· ·cleanup is a cleanup of the day area, correct?

·9· · · · · · · · MS. SCHEFFEY:· Object to form.

10· · · · · ·A.· ·Cleaning up the tables and sweeping,

11· ·mopping the floor after meal service.

12· · · · · ·Q.· ·(BY MS. TURNER)· Right.· And that's

13· ·cleaning the day area, correct?

14· · · · · · · · MS. SCHEFFEY:· Object to form.· Asked

15· ·and answered.· You can answer.

16· · · · · ·A.· ·I don't know if it's a mix on words or a

17· ·play on words, but -- if we want to encompass

18· ·everything?· I'm not sure if I'm understanding what

19· ·you're asking, then, or if you're just saying the same

20· ·question a different way.

21· · · · · ·Q.· ·(BY MS. TURNER)· I'm just saying -- my

22· ·question is how you can be sure that this references

23· ·only VWP workers.

24· · · · · · · · MS. SCHEFFEY:· Object to form.

25· · · · · ·A.· ·In my experience and working there for


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·1· ·25 years, that's my experience.

·2· · · · · ·Q.· ·(BY MS. TURNER)· So your experience is

·3· ·that only VWP -- only VWP workers are charged with

·4· ·cleaning the day areas?

·5· · · · · · · · MS. SCHEFFEY:· Object to form.

·6· ·Misstates prior testimony.

·7· · · · · ·A.· ·That's not what I'm saying.· I don't

·8· ·want to have you confuse the two.· You have your daily

·9· ·ones that are assigned just to clean up after meal

10· ·service; and at this time, in 2010, you also had unit

11· ·trustees that would clean the day area before bed,

12· ·clean up the showers, clean up the bathroom.· That was

13· ·all part of VWP.

14· · · · · ·Q.· ·(BY MS. TURNER)· Okay.· Just to clarify,

15· ·this document we reviewed a few minutes ago dates from

16· ·2013, correct?

17· · · · · ·A.· ·No, 2014.· Isn't it 2014?· I'm sorry.

18· · · · · ·Q.· ·2013, I think.· If you look at

19· ·page 1509, it says August 20, 2013.

20· · · · · ·A.· ·2013, yes.

21· · · · · ·Q.· ·So it's your testimony that VWP workers,

22· ·before everybody goes to bed, would clean the common

23· ·areas; and it's your testimony that VWP workers would

24· ·clean the bathrooms in the housing units, correct?

25· · · · · ·A.· ·Yes.


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·1· · · · · · · · MS. SCHEFFEY:· Object to form.

·2· · · · · ·Q.· ·(BY MS. TURNER)· However, you also

·3· ·testified that each day a group of detainees is

·4· ·required to clean up after the meals, correct?

·5· · · · · ·A.· ·It's two different things.

·6· · · · · ·Q.· ·Right.· That's why I said you also

·7· ·testified that there is a group of detainees outside

·8· ·of the VWP who are assigned to clean up after meals in

·9· ·the housing unit, correct?

10· · · · · · · · MS. SCHEFFEY:· Object to form.

11· · · · · ·A.· ·Yes.

12· · · · · ·Q.· ·(BY MS. TURNER)· And that cleaning

13· ·consists of wiping down the furniture, sweeping the

14· ·floors.· Might it consist of mopping the floors as

15· ·well?

16· · · · · ·A.· ·Yes.

17· · · · · ·Q.· ·Okay.· And they do that after each meal,

18· ·correct?

19· · · · · ·A.· ·Yes.· In the general use area.

20· · · · · ·Q.· ·Okay.· So it seems to me that this

21· ·language at the bottom of 1506 regarding housekeepers

22· ·encompasses work done by both individuals in the VWP

23· ·and individuals who are assigned to clean up after

24· ·meals.

25· · · · · · · · MS. SCHEFFEY:· Object to form.· Asked


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·1· ·are responsible for cleaning up after themselves, both

·2· ·in their cells and in the general common use areas,

·3· ·correct?

·4· · · · · · · · MS. SCHEFFEY:· Object to form.

·5· ·Misstates prior testimony.

·6· · · · · ·A.· ·No.· I think you're confusing it.

·7· ·There's --

·8· · · · · ·Q.· ·(BY MS. TURNER)· Okay.· Tell me why I'm

·9· ·confused.

10· · · · · ·A.· ·There is the group that is assigned, the

11· ·five or six detainees that clean up after the meal

12· ·service.· That's one set.

13· · · · · · · · And then you have your trustees, your

14· ·porters, your whatever you want to call them that fall

15· ·under the VWP that do all of the other cleanup like in

16· ·the showers and the bathrooms.

17· · · · · ·Q.· ·Right.

18· · · · · ·A.· ·Or at the end of the evening in the

19· ·common area.

20· · · · · ·Q.· ·Right.· Okay.· So that's -- I think

21· ·we're on the same page.· But my only question is, in

22· ·addition, I believe just a moment ago you testified

23· ·that pursuant to the housing unit sanitation policy

24· ·all detainees are generally required to keep their

25· ·housing unit clean, correct?


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·1· · · · · ·Q.· ·Okay.· And if you just sort of scroll

·2· ·through the document, you'll see a number of places

·3· ·where there appears additional highlighting.· Do you

·4· ·see that?

·5· · · · · ·A.· ·Yes.

·6· · · · · ·Q.· ·Okay.· And I'm wondering if that

·7· ·highlighting indicates changes that were made from the

·8· ·prior version, if you know.

·9· · · · · ·A.· ·Yes.· Typically, when items were

10· ·highlighted, that would mean that they're either

11· ·being -- there is some type of change.

12· · · · · ·Q.· ·And I will just note for the record that

13· ·the document that we've marked as Exhibit 7 contains

14· ·those same -- the language that is highlighted, but it

15· ·is no longer highlighted.· And so is it possible that

16· ·that indicates that Exhibit 7 is, in fact, a finalized

17· ·version?

18· · · · · ·A.· ·It's possible, but I wouldn't know for

19· ·sure until I saw a signed copy.· But. . .

20· · · · · · · · MS. TURNER:· Okay.· So we'll leave it,

21· ·Adrienne, that you all will verify on your end and, if

22· ·necessary, will produce her again to ask about any

23· ·differences between this and some other final version,

24· ·okay?

25· · · · · · · · MS. SCHEFFEY:· Okay.


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·1· ·it back in the chat for you.· Would you like me to do

·2· ·that?

·3· · · · · ·A.· ·Yes, please.

·4· · · · · · · · Okay.

·5· · · · · ·Q.· ·Okay.· And so in reviewing the

·6· ·procedures set forth in this document, we talked about

·7· ·a number of different types of documents that are

·8· ·generated through the disciplinary process.

·9· · · · · · · · When -- so starting at sort of the most

10· ·basic level, with the general incident report, you

11· ·testified that that's something that an officer can

12· ·complete about any incident that happens during the

13· ·course of a shift, correct?

14· · · · · ·A.· ·Yes.

15· · · · · ·Q.· ·And are those general incident reports

16· ·shared with ICE?

17· · · · · ·A.· ·Yes.

18· · · · · ·Q.· ·In what context?

19· · · · · ·A.· ·What do you mean?

20· · · · · ·Q.· ·Like do you hand somebody, you know, a

21· ·member of the ICE team at the facility a document?· Do

22· ·you send it to them by email?· Is it shared in a

23· ·meeting?· How are the general incident reports shared

24· ·with ICE?

25· · · · · ·A.· ·I guess it would depend on the time.            I


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·1· ·mean, if we're talking all the way back in 2004 and

·2· ·2005, it was probably all hard copy and put in

·3· ·somebody's mailbox or hand delivered to them.· As

·4· ·technology has grown, a lot of that is emailed.

·5· · · · · ·Q.· ·And then what about the incident reports

·6· ·that are generated as part of the disciplinary

·7· ·process, are those shared with ICE?

·8· · · · · ·A.· ·Yes.

·9· · · · · ·Q.· ·And same question as to them.· Are they

10· ·provided in hard copy?· Are they emailed?· Has the

11· ·process changed over time?

12· · · · · ·A.· ·It will be the same response, how it's

13· ·changed over time.

14· · · · · ·Q.· ·Okay.· Are there -- during the time

15· ·period covered by this case, did you or other GEO

16· ·personnel at the Aurora facility have meetings

17· ·regularly with ICE personnel at the facility?

18· · · · · ·A.· ·Yes.

19· · · · · ·Q.· ·Is there a name for those meetings?

20· · · · · ·A.· ·We just refer to them as weekly

21· ·meetings.

22· · · · · ·Q.· ·And were they weekly?

23· · · · · ·A.· ·Yes.

24· · · · · ·Q.· ·They were in person?

25· · · · · ·A.· ·The majority of them, yes.


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                                 Dawn   of 16 30(b)(6)
                                   August 05, 2020                               280

·1· · · · · · · · · ·REPORTER'S CERTIFICATE

·2· ·STATE OF COLORADO· · · · ·)
· · · · · · · · · · · · · · · ·)· ss.
·3· ·CITY AND COUNTY OF DENVER )

·4
· · · · · · · · · I, SHERRY WALLIN, Certified Realtime
·5· ·Reporter, Registered Merit Reporter and Notary Public
· · ·ID 19874212873, State of Colorado, do hereby certify
·6· ·that previous to the commencement of the examination,
· · ·the said DAWN CEJA verbally declared her testimony in
·7· ·this matter is under penalty of perjury; that the said
· · ·deposition was taken in machine shorthand by me at the
·8· ·time and place aforesaid and was thereafter reduced to
· · ·typewritten form; that the foregoing is a true
·9· ·transcript of the questions asked, testimony given,
· · ·and proceedings had.
10
· · · · · · · · · I further certify that I am not employed
11· ·by, related to, nor of counsel for any of the parties
· · ·herein, nor otherwise interested in the outcome of
12· ·this litigation.

13· · · · · · · · IN WITNESS WHEREOF, I have affixed my
· · ·signature this 10th day of August, 2020.
14
· · · · · · · · · My commission expires May 14, 2023.
15

16· ·__X__ Reading and Signing was requested.

17· ·_____ Reading and Signing was waived.

18· ·_____ Reading and Signing is not required.

19

20
· · · · · · · · · · · · · ·______________________________
21· · · · · · · · · · · · ·Sherry Wallin
· · · · · · · · · · · · · ·Certified Realtime Reporter
22· · · · · · · · · · · · ·Registered Merit Reporter

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